Case 2:12-cv-00572-JRG Document 414 Filed 03/21/19 Page 1 of 6 PageID #: 11870



                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 ARCHER AND WHITE SALES, INC.,

         Plaintiff,                                    Civil Action No. 2:12-cv-00572-JRG

 v.

 HENRY SCHEIN, INC., et al.,

         Defendants.



                                             NOTICE

       Defendants Danaher Corp., Instrumentarium Dental Inc., Dental Equipment LLC, Kavo

Dental Technologies, LLC, Dental Imaging Technologies Corporation, Benco Dental Supply

Company, Patterson Companies, Inc. and Henry Schein, Inc. (collectively “Defendants”) hereby

file this notice to inform the Court that Defendants will not be filing a reply to their Motion to

Stay Pending Appeal (Dkt. 409). Accordingly, the Motion to Stay Pending Appeal is fully

briefed and ripe for decision.



Dated: March 21, 2019                                 Respectfully submitted,



                                                        s/ Jennifer H. Doan w/permission Claire
                                                        Henry
                                                        Jennifer H. Doan
                                                        Texas Bar No. 08809050
                                                        Joshua R. Thane
                                                        Texas Bar No. 24060713
                                                        Haltom & Doan
                                                        6500 Summerhill Rd., Suite 100
                                                        Texarkana, Texas 75503
                                                        Telephone (903) 255-5100
Case 2:12-cv-00572-JRG Document 414 Filed 03/21/19 Page 2 of 6 PageID #: 11871



                                           Facsimile (903) 255-0800
                                           E-Mail: jdoan@haltomdoan.com
                                           E-Mail: jthane@haltomdoan.com

                                           Robert A. Van Kirk (pro hac forthcoming)
                                           Jonathan B. Pitt (pro hac vice)
                                           Liam J. Montgomery (pro hac vice)
                                           Matthew C. Monahan (pro hac vice)
                                           WILLIAMS & CONNOLLY LLP
                                           725 Twelfth Street, N.W.
                                           Washington, DC 20005
                                           Tel: (202) 434-5000
                                           Fax: (202) 434-5029
                                           skuney@wc.com
                                           jpitt@wc.com
                                           lmontgomery@wc.com
                                           mmonahan@wc.com

                                           Counsel for Defendants Danaher Corp.,
                                           Instrumentarium Dental Inc., Dental
                                           Equipment LLC, Kavo Dental Technologies,
                                           LLC, and Dental Imaging Technologies
                                           Corporation
Case 2:12-cv-00572-JRG Document 414 Filed 03/21/19 Page 3 of 6 PageID #: 11872



                                            /s/ Claire Henry
                                            Howard D. Scher (admitted pro hac vice)
                                            Kenneth L. Racowski (admitted pro hac
                                            vice)
                                            BUCHANAN INGERSOLL & ROONEY PC
                                            Two Liberty Place, Suite 3200
                                            50 South 16th Street
                                            Philadelphia, PA 19102
                                            (215) 665-8700
                                            howard.scher@bipc.com
                                            kenneth.racowski@bipc.com

                                            Of Counsel:
                                            T. John Ward
                                            TX Bar No. 20848000
                                            E-mail: tjw@wsfirm.com
                                            Claire Abernathy Henry
                                            TX Bar No. 24053063
                                            E-mail: claire@wsfirm.com
                                            WARD, SMITH & HILL, PLLC
                                            P.O. Box 1231
                                            Longview, Texas 75606-1231
                                            (903) 757-6400 (telephone)
                                            (903) 757-2323 (facsimile)

                                            Counsel for Defendant Benco Dental Supply
                                            Company



                                           /s/ James J. Long w/permission Claire Henry
                                           James J. Long (pro hac vice)
                                           Scott M. Flaherty (pro hac vice)
                                           Ruvin S. Jayasuriya (pro hac vice)
                                           Jay W. Schlosser (pro hac vice)
                                           Mark G. Schroeder (pro hac vice)
                                           Briggs and Morgan, P.A.
                                           2200 IDS Center, 80 South Eighth Street
                                           Minneapolis, MN 55402
                                           612.977.8745
                                           612.977.8650 (fax)
                                           jlong@briggs.com
                                           sflaherty@briggs.com
                                           rjayasuriya@briggs.com
                                           jschlosser@briggs.com
                                           mschroeder@briggs.com
Case 2:12-cv-00572-JRG Document 414 Filed 03/21/19 Page 4 of 6 PageID #: 11873




                                           Clyde Moody Siebman
                                           Stephanie Barnes
                                           Siebman, Forrest, Burg & Smith, LLP
                                           4949 Hedgcoxe Road
                                           Suite 230
                                           Plano, TX 75024
                                           214-387-9100
                                           214-387-9125 (fax)
                                           clydesiebman@siebman.com
                                           stephaniebarnes@siebman.com

                                           Attorneys for the Patterson Companies, Inc.


                                           /s/ Paul Schuster w/permission Claire Henry
                                           Paul Featherstone Schuster
                                           John Patrick McDonald
                                           Matthew K. Hansen
                                           Locke Lord LLP
                                           2200 Ross Ave, Suite 2800
                                           Dallas, TX 75201-6776
                                           214.740.8511
                                           214.746.8102 (fax)
                                           pschuster@lockelord.com
                                           jpmcdonald@lockelord.com
                                           mkhansen@lockelord.com

                                           Lauren Morgan Fincher
                                           Locke Lord LLP
                                           600 Congress Ave
                                           Suite 2200
                                           Austin, TX 78701
                                           512-305-4700
                                           512-305-4800 (fax)
                                           lfincher@lockelord.com

                                           Stephen Chuk
                                           Colin R. Kass
                                           Proskauer Rose, LLP - DC
                                           1001 Pennsylvania Avenue NW
                                           Washington, DC 20016
                                           202-416-6697
                                           202-416-6899 (fax)
                                           schuk@proskauer.com
                                           ckass@proskauer.com
Case 2:12-cv-00572-JRG Document 414 Filed 03/21/19 Page 5 of 6 PageID #: 11874




                                           Barack S Echols
                                           Richard C Godfrey
                                           J Andrew Langan
                                           Kirkland & Ellis LLP
                                           300 North LaSalle Street
                                           Suite2400
                                           Chicago, IL 60654
                                           312/862-2000
                                           312/862-2200 (fax)
                                           barack.echols@kirkland.com
                                           richard.godfrey@kirkland.com
                                           andrew.langan@kirkland.com

                                           Attorneys for Henry Schein, Inc.
Case 2:12-cv-00572-JRG Document 414 Filed 03/21/19 Page 6 of 6 PageID #: 11875



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a) As such, this notice was served on all counsel of record who

have consented to electronic service in accordance with Local Rule CV-5(a)(3)(A) on this 21st of

March, 2019.

                                                   /s/ Claire Henry
                                                   Claire Henry
